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              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-255V
                                     Filed: February 7, 2022
                                         UNPUBLISHED


    SYLVESTER WILLIAMS
                                                             Special Master Horner
                         Petitioner,
    v.                                                       Interim Attorneys’ Fees and Costs

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Joseph Alexander Vuckovich, Maglio Christopher & Toale, P.A., Washington, DC, for
petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

              DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS 1

        On August 17, 2021, petitioner moved for an award of interim attorneys’ fees and
costs. (ECF No. 83.) On August 31, 2021, respondent filed a response deferring to the
special master regarding the amount and appropriateness of an award of interim fees
and costs. (ECF No. 84.) The following day, petitioner filed a reply. (ECF No. 85.)
Petitioner requests $121,050.00 to be paid for attorney’s fees with an additional
$48,362.27 to be paid for other costs for a total of $169,412.27. For the reasons
discussed below, I award petitioner $168,362.27 in interim attorneys’ fees and costs.

         I.     Procedural History

       Petitioner filed his petition for compensation on February 22, 2017, alleging that
his autoimmune hepatitis (“AIH”) was caused by the hepatitis B vaccine he received on
June 30, 2015. (ECF No. 1.) This case was originally assigned to Special Master

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  Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.


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Millman on February 23, 2017. (ECF No. 4.) This case was reassigned to my docket
on June 6, 2019. (ECF No. 56.) Petitioner filed medical records between March 7,
2017 and September 1, 2021. (ECF Nos. 7, 18, 34, 65, 75, 86.) Respondent filed his
rule 4(c) report recommending against compensation on September 28, 2017. (ECF
No. 12.) Following the government’s Rule 4(c) report, the parties submitted several
rounds of expert reports between January 30, 2018 and August 5, 2021. (ECF Nos. 24,
41, 42, 54, 61, 65, 66, 71, 79, 82.) Thereafter, petitioner filed the instant motion. (ECF
No. 83.)

   II.     Awards of Interim Attorneys’ Fees and Costs

        Section 15(e)(1) of the Vaccine Act allows for the special master to award
“reasonable attorneys' fees, and other costs.” 42 U.S.C. § 300aa–15(e)(1)(A)–(B).
Petitioners are eligible for an award of reasonable attorneys' fees and costs if they are
entitled to compensation under the Vaccine Act, or, even if they are unsuccessful, if the
special master finds that the petition was filed in good faith and with a reasonable basis.
Avera v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008).

        Additionally, the Federal Circuit has concluded that interim fee awards are
permissible and appropriate under the Vaccine Act. Shaw v. Sec’y of Health & Human
Servs., 609 F.3d 1372 (Fed. Cir. 2010); Avera, 515 F.3d at 1352. In Avera, the Federal
Circuit stated, “[i]nterim fees are particularly appropriate in cases where proceedings
are protracted and costly experts must be retained.” 515 F.3d at 1352. In Shaw, the
Federal Circuit clarified that “where the claimant establishes that the cost of litigation
has imposed an undue hardship and there exists a good faith basis for the claim, it is
proper for the special master to award interim attorneys’ fees.” 609 F.3d at 1375; see
also Chinea v. Sec’y of Health & Human Servs., No. 15-95V, 2019 WL 3206829 at *2
(Fed. Cl. Spec. Mstr. June 11, 2019) (citing Knorr v. Sec’y of Health & Human Servs.,
No. 15-1169V, 2017 WL 2461375 (Fed. Cl. Spec. Mstr. Apr. 17, 2017)) (observing three
factors that have been considered when exercising discretion to award interim
attorney’s fees: (1) whether the fee request exceeds $30,000, (2) whether the expert
costs exceed $15,000, and (3) whether the case has been pending for over 18 months.)

       In light of the above, I exercise my discretion to allow an award of interim fees
and costs. This petition was filed nearly five years ago. In that time, petitioner has
incurred significant costs relative to securing medical records and expert support for his
claim. The amounts sought for fees and costs exceed the $30,000.00 and $15,000.00
figures cited in Chinea. Moreover, respondent has not objected, but instead deferred to
my discretion as to whether the standard for an interim award of fees and costs is met in
this case.

   III.    Amount of Reasonable Fees and Costs

       The determination of the amount of reasonable attorneys' fees is within the
special master's discretion. See, e.g. Saxton v. Sec’y of Health & Human Servs., 3 F.3d
1517, 1520 (Fed. Cir. 1993). Special Masters have “wide latitude in determining the
reasonableness of both attorneys’ fees and costs.” Hines v. Sec’y of Health & Human

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Servs., 22 Cl. Ct. 750, 753 (Fed. Cl. 1991). Moreover, special masters are entitled to
rely on their own experience and understanding of the issues raised. Wasson v. Sec’y
of Health & Human Servs., 24 Cl. Ct. 482, 483 (Fed. Cl. 1991) aff’d in relevant part, 988
F.2d 131 (Fed. Cir. 1993) (per curiam). However, petitioner “bears the burden of
establishing the hours expended” and the reasonableness of the requested fee award.
Id. at 484. Notwithstanding that respondent has not raised any specific objections to
petitioner’s fee application, “the Special Master has an independent responsibility to
satisfy himself that the fee award is appropriate and [is] not limited to endorsing or
rejecting respondent’s critique.” Duncan v. Sec’y of Health & Human Servs., No. 99-
455V, 2008 WL 4743493 (Fed. Cl. 2008); see also McIntosh v. Sec’y of Health &
Human Servs., 139 Fed Cl. 238, 250 (2018) (finding that the special master “abused his
discretion by failing to independently review the petitioner’s counsel’s motion for
attorneys’ fees and reimbursement of case costs to determine if the requested fees and
costs were reasonable.”). Furthermore, “the Special Master [has] no additional
obligation to warn petitioners that he might go beyond the particularized list of
respondent’s challenges.” Duncan, 2008 WL 4743493.

        Special Masters use the lodestar approach to determine what constitutes
reasonable attorneys’ fees under the Vaccine Act. Avera, 515 F.3d at 1347. The
lodestar approach involves first determining “an initial estimate of a reasonable
attorneys' fee by ‘multiplying the number of hours reasonably expended on the litigation
times a reasonable hourly rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S.
886, 888 (1984)). Once a court makes that initial calculation, it may then make an
upward or downward departure to the fee award based on other specific findings. Id.
For attorneys receiving forum rates, the decision in McCulloch v. Secretary of Health &
Human Services provides a further framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. No. 09-293V,
2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1, 2015). The Office of Special
Masters has since updated the McCulloch rates to adjust for inflation and the Attorneys’
Forum Hourly Rate Fee Schedules for successive years can be accessed online. 2

        I have reviewed the billing records submitted by petitioner’s counsel. All of the
rates requested are reasonable and consistent with what has been awarded to
petitioner’s counsel in prior cases. See, e.g., Barlow v. Sec’y of Health & Human
Servs., No. 19-123V, 2021 WL 2768383 (Fed. Cl. Spec. Mstr. June 7, 2021); Todd v.
Sec’y of Health & Human Servs., No. 15-860V, 2020 WL 5820959 (Fed. Cl. Spec. Mstr.
Aug. 31, 2020); Webb v. Sec’y of Health & Human Servs., No. 16-1627V, 2019 WL
2153278 (Fed. Cl. Spec. Mstr. Mar. 18, 2019); Shawgo v. Sec’y of Health & Human
Servs., No. 17-306V, 2018 WL 6520892 (Fed. Cl. Spec. Mstr. Oct. 10, 2018).
Additionally, the hours billed appear to be reasonable as well.


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  Each of the Fee Schedules for 2015 through 2021 can be accessed at
http://www.cofc.uscourts.gov/node/2914. The hourly rates contained within the schedules are derived
f rom the decision in McCulloch, 2015 WL 5634323. The schedules are adjusted for inflation using the
Producer Price Index for Offices of Lawyers (“PPI-OL”).


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        Attorneys’ costs are subject to the same reasonableness requirements as
attorneys’ fees. See Perriera v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34
(1992), aff’d, 33 F.3d 1375. The majority of the costs incurred in this case are for expert
reporting with the remainder attributed to legal research, mailing, and medical records
requests. (ECF No. 51-1, p. 75.)

        Reasonable expert costs are calculated using the same lodestar method used
when calculating attorneys’ fees. Masias v. Sec’y of Health & Human Servs., No. 99-
697V, 2009 WL 1838979, at *37 (Fed. Cl. Spec. Mstr. June 12, 2009). Regarding
expert fees, “[t]he question is not whether [the expert] expended the numbers of hours
claimed, but whether it was necessary or reasonable for him to do so.” Baker v. Sec’y
of Health & Human Servs., No. 99-653V, 2005 WL 6122529, at *4 (Fed. Cl. June 21,
2005) (quoting Wasson v. Sec’y of Health & Human Servs., No. 90-208V,1991 WL
135015, at *3 (Fed. Cl. Spec. Mstr. July 5, 1991), remanded, 24. Cl. Ct. 482, 483
(1991), aff’d, 988 F.2d 131 (Fed. Cir. 1993)). An expert retained by the petitioner in the
Vaccine Program will only be compensated at a reasonable hourly rate, and the
petitioners have the burden of demonstrating that the expert costs incurred were
reasonable. Ceballos v. Sec'y of Health & Human Servs., No. 99–97V, 2004 WL
784910, at *13 (Fed. Cl. Spec. Mstr. Mar. 25, 2004).

        Many Vaccine Program cases provide a general framework for determining the
appropriate rate for experts, which have largely fallen within a range between $250 and
$500 an hour, with a recent trend of awarding rates higher rates. See O'Neill v. Sec'y of
Health & Human Servs., No. 08–243V, 2015 WL 2399211, at *17 (Fed. Cl. Spec. Mstr.
Apr. 28, 2015) (awarding an hourly rate of $400 to an expert in neurology); Dingle v.
Sec'y of Health & Human Servs., No. 08–579V, 2014 WL 630473, at *8 (Fed. Cl. Spec.
Mstr. Jan. 24, 2014) (expert did not have “specialized knowledge and experience” in the
case to justify his requested hourly rate of $500 and, accordingly, rate was reduced to
$400 per hour); Allen v. Sec'y of Health & Human Servs., No. 11–051V, 2013 WL
5229796, at *2 (Fed. Cl. Spec. Mstr. Aug. 23, 2013) (approving a rate of $500 per hour
for an expert in neurology and immunology and who also had expertise in a pertinent
area to the issue in the case); Chen Bou v. Sec’y of Health & Human Servs., No. 04-
1329V, 2007 WL 924495, at *10, *16 (Fed. Cl. Spec. Mstr. Mar. 9, 2007) (awarding an
expert a rate of $350 per hour based in part on his poor performance in testifying at
hearing, but noting that “[b]ased upon the information submitted [ ], with the appropriate
set of facts the undersigned would have no issue with awarding the $500 requested by
petitioner”)). Importantly, however, there is no established ceiling for expert rates and
the reasonableness of each rate is assessed individually based on factors relating to the
expert’s qualifications and performance. Factors to consider in setting an expert hourly
rate include the expert’s prior experience in the program, efficiency, effectiveness, and
particular expertise. See e.g., Smith v. Sec’y of Health & Human Servs., No. 18-43V,
2020 WL 1243238 (Fed. Cl. Spec. Mstr. Feb. 20, 2020) (“Rather, the reasonableness of
any given expert's hourly rate will be based on individual factors such as credentials,
particular expertise, efficiency, and effectiveness.”); Lewis v. Sec’y of Health & Human
Servs., 149 Fed. Cl. 308, 321 (2020) (citing Frantz v. Sec’y of Health & Human Servs.,
146 Fed. Cl. 137, 145 (2019) (“With respect to an expert's rate, the inquiry is whether


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the rate is that prevailing in the community for similar services by experts of reasonably
comparable skill, experience, and reputation.”).

       Petitioner’s first expert, Dr. Gershwin, is a well-known and experienced expert in
the vaccine program, and his requested rate of $500 per hour is regularly allowed. See
e.g., Eamick v. Sec’y of Health & Human Servs., No.15-519V , 2020 WL 2467081 (Fed.
Cl. Spec. Mstr. Apr. 10, 2020); Lewis v. Sec'y of Health & Human Servs., No. 16-1604V,
2020 WL 4578584 (Fed. Cl. Spec Mstr. July 8, 2020); Soltys v. Sec'y of Health &
Human Servs., No. 17-401V, 2020 WL 5049411 (Fed. Cl. Spec. Mstr. June 26, 2020);
Santoroski v. Sec'y of Health & Human Servs., No. 15-1294V, 2019 WL 3577842 (Fed.
Cl. Spec. Mstr. June 8, 2020). Dr. Gershwin’s invoices document a total of 51 hours of
work (totaling $25,500.00) accompanied by detailed explanations of each task
performed while preparing his report, the time expended to complete each task, and the
total amount billed for the task. (See Ex. 130, pp. 40, 85-86, 89.) I find that these hours
and the requested rate are reasonable and consistent with what has been awarded in
prior cases.

        Petitioner also filed an expert opinion from Robert Gish, M.D., who is presented
as an expert in hepatology. It appears that this is the first time Dr. Gish has provided an
expert report in the program and so no previously established hourly rate exists for Dr.
Gish’s work. There is a dearth of cases that have addressed the appropriate hourly rate
for hepatology experts within the program. Notably, however, gastroenterology and
hepatology are adjacent or overlapping disciplines. E.g. Hocraffer v. Sec'y of Health &
Human Servs., No. 99-533V, 2004 WL 627777, at *8 (Fed. Cl. Mar. 12, 2004) (noting
petitioner’s expert to be board certified in gastroenterology and serving as an attending
physician in hepatology and gastroenterology), review granted, decision rev'd Hocraffer
v. Sec'y of Health & Human Servs., 63 Fed. Cl. 765 (2005). In fact, gastroenterologists
have previously opined in autoimmune hepatitis cases. E.g. Rotoli v. Sec'y of Health &
Human Servs., 89 Fed. Cl. 71 (2009) (respondent presenting a gastroenterology expert
in an autoimmune hepatitis case), rev'd sub nom. Porter v. Sec'y of Health & Human
Servs., 663 F.3d 1242 (Fed. Cir. 2011). Additionally, while Dr. Gish does have
qualifications specific to hepatology, including board certification in liver transplantation,
he otherwise holds board certifications in internal medicine and gastroenterology. (Ex.
106, p. 4.) Accordingly, prior awards of attorneys’ costs relative to gastroenterology
experts provide at least limited guidance, though very few prior decisions address this
specialty either.

       In 2017, a special master addressed the hourly rates of two pediatric
gastroenterologists who consulted on damages. One had charged a lower patient rate.
The other requested an expert rate of $650 per hour. The special master found this to
be “extremely high” and reduced the rate to $500 per hour, which the special master still
felt was generous given the physician’s role as consultant regarding damages rather
than as an opining expert regarding causation. Brooks v. Sec'y of Health & Human
Servs., No. 14-563V, 2017 WL 6276461, at *5 (Fed. Cl. Spec. Mstr. Apr. 20, 2017).
Another gastroenterologist, Dr. Santoro, had his rate reduced from $500 to $400 in his



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first case within the program in 2016. 3 Carda v. Sec'y of Health & Human Servs., No.
14-191V, 2016 WL 5224406, at *4 (Fed. Cl. Spec. Mstr. Aug. 19, 2016). It does not
appear from review of these decisions as though those gastroenterologists are on equal
footing with Dr. Gish in terms of the value added to each petitioner’s case. Moreover,
both decisions were issued about five years ago, suggesting the relevant rates could be
different today. 4

        Here, Dr. Gish has billed $600 per hour. His qualifications are particularly
notable for the degree to which his experience in hepatology and leadership at the
Hepatitis B Foundation align with the allegations in this case. Moreover, although both
parties have retained immunologists to speak to the immune aspects of autoimmune
hepatitis, the parties are also actively litigating the question of onset. Dr. Gish is
petitioner’s primary opining expert on that issue. Despite his lack of prior experience in
this program, based on his specialty, qualifications, role in this case, performance, and
the lack of objection by respondent, I cannot conclude that his requested rate of $600
per hour is inherently unreasonable. Moreover, the total amount requested for
reimbursement is not excessive relative to the ultimate work product.

       However, Dr. Gish appears to have miscalculated the total number of hours
spent on petitioner’s case. On his first invoice to petitioner, Dr. Gish billed a total of 15
hours, yet the descriptions of the work done only total 14 hours. (Ex. 130, p. 91.)
Accordingly, the award of reimbursement for Dr. Gish’s work is reduced by $600.00,
from $19,050.00 to $18,450. Additionally, Dr. Gish billed $450 for an hour of 3rd party
editing and complication of a bibliography; however, this program does not pay for tasks
which are secretarial in nature. Guy v. Sec'y of Health & Human Servs., 38 Fed. Cl. 403,

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  In subsequent cases other special masters have declined to increase that rate apparently owing to the
quality of Dr. Stantoro’s work product. See, e.g. Ploughe v. Sec'y of Health & Human Servs., No. 14-
626V, 2017 WL 4455632, at *4 (Fed. Cl. Spec. Mstr. Sept. 11, 2017); Campbell v. Sec'y of Health & Hum.
Servs., No. 16-996V, 2019 WL 5887031, at *4 (Fed. Cl. Spec. Mstr. Oct. 21, 2019). Thus, it appears Dr.
Santoro’s rate may have limited applicability regarding the general value of a gastroenterology expert’s
time.
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  What was considered a reasonable hourly rate five years ago should not necessarily be taken strictly at
f ace value with respect to what would be reasonable today. In that regard, it is notable that the Brooks
and Carda decisions indicate that other gastroenterologists were billing this program between $650 and
$500 per hour about five years ago, even if those rates were not accepted at that time. By way of
example only, using the Bureau of Labor Statistics Producer Price Index for General Medical and Surgical
Hospitals to adjust for inflation, even the reduced $500 per hour rate in 2017 identified by Brooks could
suggest a rate of about $560 per hour today. The $400 per hour rate identified in Carda in 2016 could
suggest a current rate of about $453 per hour by the same calculation. However, this is not to say that
this particular BLS PPI is the best or only measure of inflation that could be used in this context. Nor
does it suggest that inflationary calculations should be directly applied to expert costs. Reference to the
BLS PPI is intended only as an example to help contextualize the previously set rates given the age of
the prior decisions and the limited number of relevant decisions available. The rate set for Dr. Gish in this
case is based on factors specific to his background and role in the case and is not based on any
calculation of inflation. (The above-discussed hourly rates were reached by multiplying the original rate
identified by each decision by the most recently available index figure (157.639 as of August 2021) and
then dividing by the index figure for the month in which the rate was determined (April of 2017 (140.7) for
Brooks and August of 2016 (139.3) for Carda), then rounding to the nearest whole dollar.)


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408 (1997) (denying compensation for office overhead including office supplies,
administrative or clerical staff, and secretarial support.) Accordingly, the award is
further reduced to $18,000.00.

       Finally, petitioner has submitted several pages of miscellaneous costs totaling
$3,812.27, primarily involving mailing, records requests, printing services, and legal
research. Upon review, these costs all appear reasonable and sufficiently documented.

    IV.     Conclusion

      In light of the above, petitioner’s application for interim attorneys’ fees and costs
is GRANTED and petitioner is awarded a lump sum in the amount of $168,362.27
representing reimbursement for interim attorneys’ fees and costs, in the form of a
check made payable to petitioner and her counsel, Joseph A. Vuckovich of
Maglio Christopher & Toale, P.A. 5

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 6

IT IS SO ORDERED.

                                                         s/Daniel T. Horner
                                                         Daniel T. Horner
                                                         Special Master




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 The check should be forwarded to Maglio Christopher & Toale, PA, 1605 Main Street, Suite 710,
Sarasota Florida 34236.
6
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
Vaccine Rule 11(a).

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